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                     Exhibit H
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                          "blocks": [
                              {
                                  "text": "Well can"
                              }
                          ]
                     },
                     {
                          "id": "b059376f-a2c2-4d58-825e-a7806ab3f33d",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:24.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "99% right now hahaha"
                              }
                          ]
                     },
                     {
                          "id": "f8c0f325-4807-4c44-af25-9db84bcbe89f",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:26.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "But def not worth it"
                              }
                          ]
                     },
                     {
                          "id": "636a337b-f705-4000-b9b2-6357f356e200",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:30.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "True"
                              }
                          ]
                     },
                     {
                          "id": "287cb4d6-e552-4f4e-b730-a6404927d03b",

                          "type": "message",
                          "timestamp": "2023-01-06T05:21:36.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "Bro you\u2019re a billionaire"
                              }
                          ]
                     },




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                      {
                           "id": "deecb139-9e85-40f3-a4db-744e435a1350",

                           "type": "message",
                           "timestamp": "2023-01-06T05:21:44.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "A petty billionaire"
                               }
                           ]
                      },
                      {
                           "id": "d84afd46-c4e5-426e-9e5d-a7724df9f454",

                           "type": "message",
                           "timestamp": "2023-01-06T05:21:47.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "Respectfully, let him lie in his own sad
            puddle"
                               }
                           ]
                      },
                      {
                           "id": "fbc50607-167f-44f2-bb29-76c70ae07395",

                           "type": "message",
                           "timestamp": "2023-01-06T05:21:58.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "you\u2019re right"
                               }
                           ]
                      },
                      {
                           "id": "eb8e792c-b1b0-49cc-9ef1-2d465c57afa7",
                                                       ,
                           "type": "message",
                           "timestamp": "2023-01-06T05:22:01.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "I\u2019m just pissed"
                               }
                           ]
                      },
                      {
                           "id": "3d2b7f74-3da9-4ea8-bd27-6a09109fd52f",

                           "type": "message",
                           "timestamp": "2023-01-06T05:22:38.000",




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